
35 N.Y.2d 659 (1974)
The People of the State of New York, Respondent,
v.
Frank Peterson, Appellant.
Court of Appeals of the State of New York.
Argued September 5, 1974.
Decided October 7, 1974.
Steven M. Edwards for appellant.
Richard H. Kuh, District Attorney (Jonathan Lovett and Lewis R. Friedman of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges GABRIELLI, JONES, WACHTLER, RABIN, STEVENS and WITMER.[*]
Order affirmed; no opinion.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution.

